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IN THE UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

 

RONALD ANTHONY GOMEZ,

Petitioner,

v.
CHRISTIAN PFEIFFER, WARDEN
Respondent.

 

 

 

Case No. CV 19-3756 DMG (MRW)

ORDER ACCEPTING FINDINGS
AND RECOMMENDATIONS OF
UNITED STATES MAGISTRATE
JUDGE

Pursuant to 28 U.S.C. § 636, the Court reviewed the Complaint, the

records on file, the Report and Recommendation of the United States

Magistrate Judge, the parties’ supplemental submissions, and the Magistrate

Judge’s Supplemental Statement of Decision. Further, the Court engaged in

a de novo review of those portions of the Report to which Petitioner objected.

The Court accepts the findings and recommendation of the Magistrate Judge.

 
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IT IS ORDERED that Judgment be entered denying the petition and

dismissing this action with prejudice.

DATED: October 19, 2020 Mm. hae
DOLLY (A. GEE

UNITED STATES DISTRICT JUDGE

 

 
